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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                           HARRISONBURG DIVISION

ME2 PRODUCTIONS, INC.,              Case No. Case No. 5:16-cv-00083-EKD

                                    AMENDED COMPLAINT
             Plaintiff,

      vs.

FRED CRAWLEY,
KIM DAVIS.
CATRINA HARRIS,
THANTIP KAEO-ARSA,
DERRICK LAWSON,
DOMINEKE MCGRAW,
SHANE MUTTER,
JAMES PRICE,
DAVID ROWLAND, AND
STACY WHITTEMORE


             Defendants.



       AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT
            Plaintiff, ME2 Productions, Inc. (“ME2”), by and through its

undersigned counsel, for and as its Amended Complaint, which is filed pursuant to

Fed. R. Civ. P. 15(a) as a matter of course wherein such amendment is made prior

to 21 days after service against Defendants, alleges as follows:

                            JURISDICTION AND VENUE
1.    This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Law of the United States (17 U.S.C. §101 et
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seq.). As set forth in greater detail below, this action involves the unauthorized

acquisition, copying and transfer of the copyrighted motion picture Mechanic:

Resurrection (hereinafter, “the Motion Picture” or “Mechanic: Resurrection”) by

Defendants.


2.     This Court has jurisdiction under 17 U.S.C. §101 et seq.; 28 U.S.C. §1331

(federal question); and 28 U.S.C. §1338(a) (copyright).


3.     Upon information and belief, the Defendants reside in this Division and

elsewhere in this Judicial District.


4.     On information and belief, personal jurisdiction in this District is proper

because each Defendant, without consent or permission of Plaintiff as exclusive

rights owner, within this District, reproduced, distributed and offered to distribute

among other Defendants over the Internet the copyrighted Motion Picture for

which Plaintiff has exclusive rights. Plaintiff has used geolocation technology to

trace the Internet Protocol (“IP”) addresses of each Defendant to a point of origin

within this District. On information and belief, each Defendant has an IP address

based in this District and resides in or committed copyright infringement in this

District.


5.     In the alternative, this Court has personal jurisdiction over non-resident

Defendants, if any, under the Virginia long-arm statute, Va. Code § 8.01-328.1,

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because they downloaded copyrighted content from or uploaded it to Virginia

residents located in this District, thus committing a tortious act within the

meaning of the statute.


6.     Venue in this District is proper under 28 U.S.C. §1391(b) and/or 28 U.S.C.

§1400(a). Although the true identity of each Defendant is unknown to Plaintiff at this

time, on information and belief, Defendants reside in this District, may be found in

this District and/or a substantial part of the acts of infringement complained of herein

occurred in this District.




                                   THE PARTIES
7.     Plaintiff ME2 is a Nevada corporation with principal offices in Los Angeles,

California and an affiliate of Nu Image / Millennium Films, production companies

and distributors of a notable catalog of major motion pictures.


8.     Plaintiff is the owner of the copyright and/or the pertinent exclusive rights

under copyright in the United States in the Motion Picture that has been unlawfully

distributed over the Internet by Defendants.


9.     The original complaint of this case was filed against thirteen (13) Doe

defendants. One of the original Doe defendants could not be identified by the

Internet Service provider and two have settled with the Plaintiff.


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10.   The names of the Defendants were obtained from their Internet Service

Provider based upon their respective Internet Protocol (“IP”) address assigned to that

Defendant by his or her Internet Service Provider and the date and the time at which

the infringing activity of each Defendant was observed.            Plaintiff believes that

additional information obtained in discovery may lead to the identification of

additional infringing parties, as monitoring of online infringement of Plaintiff’s

motion picture is ongoing.

                              ALLEGATIONS
11.   Mechanic: Resurrection is a motion picture released in theatres on August

25, 2016.


12.   The motion picture Mechanic: Resurrection is a thriller and the sequel to

the highly successful 2011 film The Mechanic. The film is a major production

with notable actors, a national advertising campaign and a significant opening

release   in   over   2,200      screens,   promoted   in   part    by   its   web   site:

http://www.mechanic.movie.


13.   Mechanic: Resurrection is protected by the Copyright Act and registrations

including PAu 3-773-822, PRE 8863 and others. Exhibit A.


14.   Under The Copyright Act, ME2 is the proprietor of copyrights and related

interest needed to bring suit.


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15.   The motion picture contains wholly original material that is copyrightable

subject matter under the laws of the United States.


16.   The motion picture is currently offered for sale in commerce and is in

theatres.


17.   Defendants had notice of plaintiff’s rights through general publication and

advertising and more specifically as identified in the content of the motion picture,

advertising associated with the motion picture and copies, which bore a proper

copyright notice.


18.   ME2 comes to court seeking relief as the motion picture Mechanic:

Resurrection, is being pirated and trafficked in the BitTorrent network and is

being illegally downloaded and distributed countless times worldwide with many

confirmed instances of infringing activity traced to the Western District of Virginia.


19.   The acquisition, copying and transfer of the Motion Picture is

accomplished by using a network called a “BitTorrent protocol” or “torrent,”

which is different than a Peer-to-Peer (“P2P”) protocol. The BitTorrent protocol

makes even small computers with low bandwidth capable of participating in large

data transfers for copying large files such as movies. The initial file-provider

intentionally elects to share a file with a torrent network. This initial file is called

a seed. Other users (“peers”) and the network connect to the seed file to

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download a movie. As additional peers request the same file, each additional

user knowingly becomes a part of the network from which the file can be

downloaded. Each new file downloader receives a different piece of the data from

each user who has already downloaded the file that together comprises the whole.

This piecemeal system with multiple pieces of data coming from peer members is

usually referred to as a “swarm.” The effect of this technology makes every

downloader also an uploader of the illegally transferred file(s). This means that

every “node” or peer user who has a copy of the infringing copyrighted material

on a torrent network intentionally also becomes a source of download for that

infringing file.


20.    This distributed nature of BitTorrent leads to a rapid viral spreading of a

file throughout peer users. As more peers join the swarm, the likelihood of a

successful download increases. Because of the nature of a BitTorrent protocol,

any seed peer that has downloaded a file prior to the time a subsequent peer

downloads the same file is automatically a source for the subsequent peer so long

as that first seed peer is online at the time the subsequent peer downloads a file.

Essentially, because of the nature of the swarm downloads as described above, every

infringer is stealing copyrighted material from many Internet Service Providers

(“ISPs”) in numerous jurisdictions.


21.    Plaintiff brings this action to stop Defendants from copying and distributing to
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others over the Internet unauthorized copies of Plaintiff’s copyrighted Motion

Picture. Defendants’ infringements allow them and others unlawfully to obtain and

distribute an unauthorized copy of the Motion Picture for free. Each time a Defendant

unlawfully distributes a free copy of Plaintiff’s copyrighted Motion Picture to others

over the Internet, each person who copies the Motion Picture then distributes the

unlawful copy to others without any significant degradation in sound and picture

quality. Thus, a Defendant’s distribution of even one unlawful copy of a motion

picture can result in the nearly instantaneous worldwide distribution of that single

copy to a limitless number of people. Plaintiff now seeks redress for this rampant

infringement of its exclusive rights.



                                        COUNT I
                          COPYRIGHT INFRINGEMENT

22.   The Motion Picture is currently available for viewing throughout the U.S. As a

result, the Motion Picture has significant value and has been produced and created at

considerable expense.


23.   Plaintiff is informed and believes that each Defendant, without the permission

or consent of Plaintiff, has used, and continues to use, an online media distribution

system to reproduce and distribute to the public, including by making available for

distribution to others, the Copyrighted Motion Picture. Plaintiff has identified each

Defendant by the IP address assigned to that Defendant by his or her ISP and the date
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and the time at which the infringing activity of each Defendant was observed.

(Exhibit B). Each Defendant has violated Plaintiff’s exclusive rights of reproduction

and distribution. Each Defendant’s actions constitute infringement of Plaintiff’s

exclusive rights protected under the Copyright Act (17 U.S.C. §101 et seq.).


24.    On information and belief, each Defendant deliberately participated in a

swarm and/or reproduced and/or distributed the same seed file of Plaintiff’s

Copyrighted Motion Picture in digital form with other Defendants. In particular, on

information and belief, Defendants participated in a collective and interdependent

manner with other Defendants via the Internet for the unlawful purpose of

reproducing, exchanging and distributing copyrighted material unique to the swarm.


25.    By participating in the same swarm, each Defendant participated in the same

transaction, occurrence or series of transactions or occurrences as the other

Defendants in the swarm. The foregoing acts of infringement constitute a collective

enterprise of shared, overlapping facts and have been willful, intentional, and in

disregard of and with indifference to the rights of Plaintiff.


26.    As a result of each Defendant’s infringement of Plaintiff’s exclusive rights

under copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its

attorneys’ fees and costs pursuant to 17 U.S.C. §505.


27.    The conduct of each Defendant is causing and, unless enjoined and restrained

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by this Court, will continue to cause Plaintiff great and irreparable injury that cannot

fully be compensated or measured in money. Plaintiff has no adequate remedy at law.

Pursuant to 17 U.S.C. §§502 and 503, Plaintiff is entitled to injunctive relief

prohibiting each Defendant from further infringing Plaintiff’s copyright and ordering

that each Defendant destroy all unauthorized copies of the Copyrighted Motion

Picture.



                                 PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for judgment against each Defendant and relief
    as follows:
      1.     For entry of permanent injunctions providing that each Defendant shall

be enjoined from directly or indirectly infringing Plaintiff’s rights in the

Copyrighted Motion Picture, including without limitation by using the Internet to

reproduce or copy Plaintiff’s Motion Picture, to distribute Plaintiff’s Motion

Picture, or to make Plaintiff’s Motion Picture available for distribution to the

public, except pursuant to a lawful license or with the express authority of

Plaintiff. Each Defendant also shall destroy all copies of Plaintiff’s Motion Picture

that Defendant has downloaded onto any computer hard drive or server without

Plaintiff’s authorization and (subject to the Order of Impoundment prayed for

below) shall serve up all copies of the downloaded Motion Picture transferred onto

any physical medium or device in each Defendant’s possession, custody or control.

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      2.     For Judgment in favor of Plaintiff against Defendants that they have:

a) willfully infringed Plaintiff’s rights in its federally registered copyright pursuant

to 17 U.S.C. §501; and b) otherwise injured the business reputation and business of

Plaintiff by Defendants’ acts and conduct set forth in this Complaint.

      3.     For Judgment in favor of Plaintiff against Defendants for actual

damages or statutory damages pursuant to 17 U.S.C. §504, at the election of

Plaintiff, in an amount to be determined at trial.

      4.     For an Order of Impoundment under 17 U.S.C. §§503 and 509(a)

impounding all infringing copies of Plaintiff’s Motion Picture which are in

Defendants’ possession or under their control.


      5.     For Judgment in favor of Plaintiff and against Defendants awarding

Plaintiff attorneys’ fees pursuant to 17 U.S.C. § 505, litigation expenses (including

fees and costs of expert witnesses) and other costs of this action.


      6.     For Judgment in favor of Plaintiff against Defendants, awarding

Plaintiff such further declaratory and injunctive relief as may be just and proper

under the circumstances.



                                  JURY DEMAND

      Plaintiff demands trial by jury on all issues so triable.


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DATED: June 14, 2017              Respectfully submitted,


                                  By:         /s/Dale R. Jensen
                                             Dale R. Jensen (VSB 71109)
                                             Dale Jensen, PLC
                                             606 Bull Run
                                             Staunton, VA 24401
                                             (434) 249-3874
                                             (866) 372-0348 facsimile
                                             djensen@dalejensenlaw.com
                                             Counsel for ME2 Productions, Inc.




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